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              Presentment Date and Time: February 27, 2019, at 2:00 p.m. (prevailing Eastern Time)
                      Objection Deadline: February 26, 2019 at 5:00 p.m. (prevailing Eastern Time)

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Yelena Archiyan (Admitted in New York)                         Katherine C. Fackler (Admitted Pro Hac Vice)
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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- X
                                       :
In re:                                                        Chapter 11
                                       :
REPUBLIC METALS REFINING                                      Case No. 18-13359 (SHL)
CORPORATION, et al.,1                  :
                                                              (Jointly Administered)
                 Debtors,                                 :

                                       :
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      NOTICE OF PRESENTMENT OF STIPULATION AND ORDER GRANTING
     STANDING TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

         PLEASE TAKE NOTICE that a stipulation and order (the “Stipulation”) by and among

the above-captioned Debtors and the Official Committee of Unsecured Creditors (the

“Committee”) will be presented to the Honorable Sean H. Lane of the United States Bankruptcy



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic
Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
Delegación Cuauhtémoc, Mexico DF 6000 (2942).


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Court for the Southern District of New York, for signature and entry on February 27, 2019, at

2:00 p.m. (prevailing Eastern Time).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Stipulation must: (i)

be made in writing, (ii) state with particularity the grounds therefore, (iii) be filed in accordance

with the electronic filing procedures for the United States Bankruptcy Court for the Southern

District of New York, with proof of service, with a courtesy copy delivered to the Chambers of

the Honorable Sean H. Lane, One Bowling Green New York, New York 10004; and (iv) served

upon (a) the Debtors, c/o Republic Metals Refining Corporation, (Attn: Scott Avila); (b) the

attorneys for the Debtors, Akerman LLP, 2001 Ross Avenue, Suite 3600, Dallas, TX 75201 (Attn:

Andrea S. Hartley, Esq. and Katherine C. Fackler, Esq.); (c) counsel for the Committee, Cooley

LLP, 1114 Avenue of the Americas, New York, New York 10016 (Attn: Seth Van Aalten, Esq.

and Ian Shapiro, Esq.); (d) the Office of the United States Trustee for the Southern District of New

York, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New York, New York 10014

(Attn: Shannon Scott, Esq.); so as to be received no later than 5:00 p.m. (prevailing Eastern

Time) on February 26, 2019 (the “Objection Deadline”).

         PLEASE TAKE FURTHER NOTICE that if no response or objections are received by

the Objection Deadline, the Stipulation may be signed without a hearing.

         PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed and

served by the Objection Deadline, a hearing may be held before the Honorable Sean H. Lane, at a

date to be scheduled by the Court, upon such additional notices as the Court may direct. The

moving and objecting parties are required to attend the hearing, and failure to attend in person or

by counsel may result in relief being granted or denied upon default.




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 Dated: February 22, 2019

                                                   AKERMAN LLP

                                                   By: /s/Katherine C. Fackler
                                                      Katherine C. Fackler (Admitted Pro Hac Vice)
                                                      Andrea S. Hartley (Admitted Pro Hac Vice)
                                                      Joanne Gelfand (Admitted in New York)
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                                                                         -and-

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                                                   Counsel for Debtors and Debtors-in-Possession




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